                     Case 3:19-cv-01051-SI            Document 77             Filed 12/06/21      Page 1 of 7


AO 440 {Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                       District of Oregon

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                                 V,                                     Civil Action No. 3:19-cv-01051-SI
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              CLACKAMAS COUNTY; et al.,                         )
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                                                SUMMONS IN A CIVIL ACTION

To: /1Jefe11da11t's 11ame a11d addres.,) CLACKAMAS COUNTY
                                         c/o Steven Madkour, County Counsel
                                         2051 Kaen Road
                                         Oregon City, OR 97045




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Prncedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Ronald-Kenneth: Strasser AR WP; Non-Resident Alien
                                 c/o 151 South Scott Street; non-domestic
                                 Carlton
                                 Oregon Republic
                                 Multnomah, County
                                 Zip Exempt [pursuant to DMM 602 I .3e (2)]

        Ir you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Dale:            11/04/2021
                                                                                      Signature of Clerk or Depllfy Clerk


        12/06/2021                                                        By: s/Elizabeth Potter, Deputy Clerk
                     Case 3:19-cv-01051-SI           Document 77           Filed 12/06/21      Page 2 of 7


AO 440 (Rev, 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                      District of Oregon

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            Ronald-Kenneth:Strasser, sui juris
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                                 v.                                   Civil Action No. 3:19-cv-01051-SI
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 STATE OF OREGON by and through Governor Kate                   )
               Brown, et al.                                    )
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                                                SUMMONS IN A CIVIL ACTION

To: (l)eJC11da11t's 1wme mu/ address) Shane Strangfield
                                      9101 SE Sunnybrook Blvd
                                      Clackamas, OR 97015




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Ronald-Kenneth: Strasser AR WP; Non-Resident Alien
                                 c/o 8800 Southeast 80 Avenue; non-domestic
                                 Portland
                                 Oregon Republic
                                 Multnomah, County
                                 Zip Exempt

          If you fail to respond,judgrnent by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Dale:
                                                                                   Signature c?fC!erk or Deputy Clerk


           12/06/2021                                                        By: s/Elizabeth Potter, Deputy Clerk
                     Case 3:19-cv-01051-SI           Document 77           Filed 12/06/21      Page 3 of 7


AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                             for the
                                                      District of Oregon


            Ronald-Kenneth:Strasser, sui juris
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                                 v.                              )
 STATE OF OREGON by and through Governor Kate                    )
               Brown, et al.                                     )
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                                                SUMMONS IN A CIVIL ACTION

To: (Defe11da111 's 11ame and address) Ken Baell
                                       9101 SE Sunnybrook Blvd
                                       Clackamas, OR 97015




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald-Kenneth: Strasser AR WP; Non-Resident Alien
                                 c/o 8800 Southeast 80 Avenue; non-domestic
                                 Portland
                                 Oregon Republic
                                 Multnomah, County
                                 Zip Exempt

        If you fail lo respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                    Signature of Clerk or Depuzv Clerk


          12/06/2021                                                        By: s/Elizabeth Potter, Deputy Clerk
                     Case 3:19-cv-01051-SI           Document 77           Filed 12/06/21      Page 4 of 7


J\O440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                            for the
                                                      District of Oregon

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            Ronald-Kenneth:Strasser, sui juris
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STATE OF OREGON by and through Governor Kate                  )
              Brown, et al.                                   )
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                                                SUMMONS IN A CIVIL ACTION

To: (D4e11da111 's name am/ address) Clackamas County Sheriffs Office Professional Standard Unit
                                     9101 SE Sunnybrook Blvd
                                     Clackamas, OR 97015




          A lawsuit has been tiled against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Ronald-Kenneth: Strasser AR WP; Non-Resident Alien
                                 c/o 8800 Southeast 80 Avenue; non-domestic
                                 Portland
                                 Oregon Republic
                                 Multnomah, County
                                 Zip Exempt

          If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                   Signature of Clerk   01·   Depu~v Clerk


            12/06/2021                                                        By: s/Elizabeth Potter, Deputy Clerk
                     Case 3:19-cv-01051-SI           Document 77            Filed 12/06/21        Page 5 of 7


AO 440 (Rev. 06/12) Summons inn Civil Action


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                       District of Oregon

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            Ronald-Kenneth:Strasser, sui juris
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STATE OF OREGON by and through Governor Kate                     )
              Brown, et al.                                      )
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                                               SUMMONS IN A CIVIL ACTION

To: (D4<!11da111 's name and addres.\) Samantha Olson
                                       807 Main St
                                       Oregon City, OR 97045




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Ronald-Kenneth: Strasser AR WP; Non-Resident Alien
                                 c/o 8800 Southeast 80 Avenue; non-domestic
                                 Portland
                                 Oregon Republic
                                 Multnomah, County
                                 Zip Exempt

        If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file yom answer or motion with the court.



                                                                            CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk


   12/06/2021                                                            By: s/Elizabeth Potter, Deputy Clerk
                        Case 3:19-cv-01051-SI                   Document 77           Filed 12/06/21      Page 6 of 7


AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                       for the
                                                                 District of Oregon

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              Ronald-Kenneth:Strasser, sui juris
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 STATE OF OREGON by and through Governor Kate                              )
               Brown, et al.                                               )
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                                                         SUMMONS IN A CIVIL ACTION

To:   (0~/<!11d<111I 's 1u1me mu/ oddres,\)      Daniel Smith
                                                 9101 SE Sunnybrook Blvd
                                                 Clackamas, OR 97015




            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
arc the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Ronald-Kenneth: Strasser AR WP; Non-Resident Alien
                                 c/o 8800 Southeast 80 Avenue; non-domestic
                                 Portland
                                 Oregon Republic
                                 Multnomah, County
                                 Zip Exempt

            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                      CLERK OF COURT


Date:
                                                                                              Sig11at11re ~(Clerk or Depu~v Clerk



          12/06/2021                                                                  By: s/Elizabeth Potter, Deputy Clerk
                      Case 3:19-cv-01051-SI          Document 77           Filed 12/06/21      Page 7 of 7


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                      District of Oregon

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            Ronald-Kenneth:Strasser, sui juris
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                            P/aintiff(s)
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                                V,                                    Civil Action No. 3:19-cv-01051-SI
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 STATE OF OREGON by and through Governor Kate                 )
               Brown, et al.                                  )
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                           Defendant(s)                       )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Eric Machado
                                   2051 Kaen Road
                                   Oregon City, OR 97045




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald-Kenneth: Strasser AR WP; Non-Resident Alien
                                 c/o 151 S Scott Street, Apartment 2
                                 Carlton
                                 Oregon Republic
                                 Yamhill, County
                                 Zip Exempt

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk


         12/06/2021                                                         By: s/Elizabeth Potter, Deputy Clerk
